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     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     DENNIS ESTES
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:12-CR-0095 WBS
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   DENNIS WILLIAM ESTES and        )
     KEVIN WEBBER,                   )
17                                   )     Date: April 23, 2012
                    Defendants.      )     Time: 9:30 a.m.
18                                   )     Judge: Hon. William B. Shubb
     _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendants, Dennis Estes and Kevin Webber, through their
22   respective attorneys, that the status conference scheduled for April 23,
23   2012, may be continued to May 29, 2012, at 9:30 a.m.
24        Counsel for both defendants seek additional time to review the
25   extensive audio and video discovery provided by the government and to do
26   additional research and investigation.         To afford time for necessary
27   preparation and review, the parties agree that time under the Speedy
28   Trial Act should be excluded through May 29, 2012, pursuant to 18 U.S.C.
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 1   § 3161(h)(7)(A) and that the ends of justice served by taking such action
 2   outweigh the best interest of the public and the defendant in a speedy
 3   trial.
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7   Dated:    April 19, 2012                  /s/ T. Zindel
                                               TIMOTHY ZINDEL
 8                                             Assistant Federal Defender
                                               Attorney for DENNIS ESTES
 9
10   Dated:    April 19, 2012                  /s/ T. Zindel for J. Karowsky
                                               JAN KAROWSKY
11                                             Attorney for KEVIN WEBBER
12                                             BENJAMIN B. WAGNER
                                               United States Attorney
13
14   Dated:    April 19, 2012                  /s/ T. Zindel for J. Hitt
                                               JASON HITT
15                                             Assistant U.S. Attorney
16
17                                        O R D E R
18         The status conference is continued to May 29, 2012, at 9:30 a.m.
19   For the reasons given above, the court finds that the ends of justice to
20   be served by a continuance outweigh the best interests of the public and
21   the defendant in a speedy trial and therefore excludes time under the
22   Speedy Trial Act through May 29, 2012.
23         IT IS SO ORDERED.
24
25   Dated: April 19, 2012
26
27
28


     Stip. & Order                             2
